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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA,                          )
                                                    )
           Plaintiff,                               )   Case No. 3:18-cv-787-KAD
                                                    )
           v.                                       )
                                                    )
 ZVI KAUFMAN,                                       )
                                                    )
           Defendant.                               )

         PLAINTIFF UNITED STATES OF AMERICA’S NOTICE OF APPEAL

       Plaintiff United States of America hereby gives notice of its appeal to the United States

Court of Appeals for the Second Circuit from the “Amended Judgment” (Doc. No. 86), dated

January 18, 2022.

       Dated: March 4, 2022

                                             Respectfully Submitted,

                                             DAVID A. HUBBERT
                                             Deputy Assistant Attorney General


                                             /s/Bradley A. Sarnell
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 4th day of March, 2022, I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system, which will send notification of
such filing to all ECF filers. There are no parties that require conventional service.

                                              /s/ Bradley A. Sarnell
                                              BRADLEY A. SARNELL
                                              Trial Attorney
                                              United States Department of Justice, Tax Division




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